 Case 3:20-cv-00009-NKM Document 7 Filed 02/26/20 Page 1 of 1 Pageid#: 279



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                          LYNCHBURG DIVISION


                                                      Action No: 3:20CV00009
“Baby L.” a minor, by and through her legal
guardians and next friends, DOE 1, and DOE 2, et al. Date: 2/26/2020
                                                      Judge: Norman K. Moon
vs.
                                                      Court Reporter: Mary Butenshoen
Dr. Mark Esper, in his official capacity as Secretary (by phone)
for the United States Department of Defense, et al.   Deputy Clerk: Carmen Amos



Plaintiff Attorney(s)                              Defendant Attorney(s)
Richard L. Mast (in person)                        Kathryn Wyer, DOJ (by phone)
                                                   Alexander Haas, DOJ (by phone)
                                                   Daniel Bubar, USAO (by phone)
                                                   Laura Rottenborn, USAO (by phone)



PROCEEDINGS:
Parties present by phone, except for counsel for Plaintiffs, who was present in person. Arguments
heard as to Plaintiffs’ Petition for a Temporary Restraining Order. The Court took a brief recess
at 4:19 p.m. and the parties were directed to re-join the call at 5:00 p.m. for the Court’s ruling.

The conference call reconvened at 5:08 p.m. The ruling of the Court is that Plaintiff’s
Motion/Petition for a Temporary Restraining Order is denied for the reasons as stated on the
record.




Time in Court: 3:17 – 4:19 p.m.; 5:08 – 5:15 p.m. (1 hour, 9 minutes)
